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                 EXHIBIT
Message                                                                                                            Page 1 of 1
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Anna Levine

From: Anna Levine
Sent: Wednesday, January 05, 2011 4:56 PM
To: 'BRENNERWJ@cooley.com '
Cc:     'Daniel F. Goldstein'; 'Scott C. LaBarre'

Dear Wendy,

Please see the attached letter and proposed draft stipulations.

Thank you,


Anna




Anna Levine, Staff Attorney
Disability Rights Advocates
2001 Center Street, Third Floor
Berkeley, California 94704-1204

510 665 8644 (Tel)
510 665 8716 (TTY)
510 665 8511 (Fax)

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 1/14/2011
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                                                                                                               Telephone: (510) 665-8644
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                    DISABILITY RIGHTS ADVOCATES                                                                        TTY: (510) 665-8716
                                        A non-profit corporation                                                       www.dralegal.org

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Pat Kirkpatrick
Fundraising Consultant
Joshua Konecky                                December 29, 2010
Schneider Wallace Cottrell
Brayton Konecky LLP
Janice L. Lehrer-Stein
Consultant                                             Re:         Enyart v. National Conference of Bar Examiners
Bonnie Lewkowicz
Access Northern California                                         Proposed Preliminary Injunction Order
Jessica Lorenz
Independent Living Resource Center
San Francisco
Laurence Paradis                              Dear Wendy,
Disability Rights Advocates
Eugene Alfred Pinover
Wale Farr & Gallagher LLP
Cristina Rubke
                                              Attached with this letter you will find two draft stipulations. One includes
Shartsis Friese LLP                           both provisions regarding the software that will be provided through a
Michael P. Stanley
Legal Consultant                              further preliminary injunction order, and provisions that would take the
ATTORNEYS AND FELLOWS                         place of the previously requested availability of someone with
 Laurence Paradis
Executive Director                            administrative privileges (the draft with "no motion" in its document title).
Sid Wolinsky
Litigation Director                           The other draft does not include the latter provisions, but instead
Melissa Kasnitz
Managing Attorney                             reserves Stephanie's right to seek further modifications from the court
Kevin Knestrick
Supervising Staff Attorney                    (the draft with "motion" in its document title).
Mary-Lee Kimber Smith
Staff Attorney
Anna Levine                                   We have not yet received any response from NCBE regarding our letter
Staff Attorney
Ronald Elsberry
Staff Attorney
                                              of December 29, 2010 on the issue of software that NCBE will provided
Julia Pinover                                 for the February 2011 administration of the MBE. Our preference is to
Staff Attorney
Karla Gilbride                                resolve all issues regarding accommodations on the February MBE by
Staff Attorney
Becca Von Behren                              stipulation. However, failing to do that, Stephanie needs to move for an
Staff Attorney
Rebecca Williford                             injunction by the end of this week to get the accommodations she needs
LD Access / Ryder Foundation Fellow
Elizabeth Leonard                             in place in time for the February test administration.
Penn Law Public Interest Fellow
Kara Werner
John W Carson / LD Access Fellow              Through your letter dated December 23, 2010, we understand that the
ADVISORY BOARD
 Joseph Cotchett                              question of administrative privileges also remains unresolved. We have
Cotchett, Pitre & McCarthy
Hon. Joseph Grodin
                                              pursued this issue in an effort to address specific problems that have
Retired Justice, Calif. Supreme Court         arisen in Stephanie's experience of prior test administrations. Your
Kathleen Hallberg
Ziffren, Brittenham & Branca                  assurance in your letter dated December 23, 2010 that "When the
Karen Kaplowitz
New Ellis Group                               laptop leaves NCBE, it will be in working order," is not supported by
Hon. Charles Renfrew
Retired, United States District Judge         those experiences: on no prior exam administration has Stephanie ever
Margaret R. Roisman                           received a laptop in working order. We do not believe that making
Roisman Henel LLP
Guy T, Saperstein                             available a NCBE or State Bar person with administrative privileges
Todd Schneider
Schneider Wallace Cottrell
Brayton Konecky LLP
                                              compromises the security of the exam. Our goal, however, is a
Fernando M. Torres-Gil, Ph.D.                 meaningful opportunity to fix identified problems, if any, that require, for
University of Calif. Los Angeles
Gerald Uelmen                                 example, software programs to be uninstalled and reinstalled in a
Santa Clam University School of Law
January
   Case 14,3:09-cv-05191-CRB
           2011                     Document 119-12         Filed 01/14/11     Page 4 of 15
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different order. If in fact the laptop is in working order, the issue will not arise. But if
there is such a problem, we do not want Stephanie left in a position where the agreed
upon pre-test inspection affords her only a longer time to reflect on the fact that there
will again be a problem that interferes with the accessibility of the test and that will not
be fixed prior to the exam.

In an effort to avoid going back to court, we have drafted an alternative potential
solution, which is contained in the attached draft stipulation. Under this proposed
stipulation, if and only if a problem requiring it is identified, the laptop will be returned to
NCBE to be fixed in time for the exam, rather than having someone available on-site
with the administrative privileges necessary to fix the laptop.

I hope that this solution addresses NCBE's concerns and that we can finalize an
agreement fully addressing the further preliminary injunction order. In light of time
constraints, please respond by 12 pm, tomorrow, as to whether NCBE will enter into
either of these proposed agreements.

Sincerely,



/s/ Anna Levine

Enclosures (2)
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        Attorneys for Plaintiff
O
       [add defense counsel to caption]




                                   UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
Case 3:09-cv-05191-CRB     Document 119-12    Filed 01/14/11   Page 6 of 15


  STEPHANIE ENYART                           Case NO. C09-05191
                                             NOTICE OF STIPULATION AND
                                             AGREEMENT BETWEEN STEPHANIE
              Plaintiff,                     ENYART AND NATIONAL
                                             CONFERENCE OF BAR EXAMINERS
  v.                                         REGARDING FEBRUARY 2011
  NATIONAL CONFERENCE OF BAR                 ADMINISTRATION OF MULTISTATE
  EXAMINERS,                                 BAR EXAM

              Defendant.
Case 3:09-cv-05191-CRB            Document 119-12            Filed 01/14/11   Page 7 of 15



           The parties to the above-captioned action, Plaintiff Stephanie Enyart and

   Defendant National Conference of Bar Examiners (hereinafter, "the Parties"), jointly

   stipulate and agree as follows:



           1. With respect to the February 2011 administration of the California Bar exam,
               NCBE shall provide the State Bar of California, Committee of Bar Examiners

               (the "State Bar") with the Multistate Bar Examination ("MBE") loaded onto a
               laptop computer equipped with Windows XP, Word 2003, JAWS version 12

               and MAGic version 11 software, with the examination displayed in 14-point

               Arial font.
           2. NCBE shall deliver the NCBE laptop to the State Bar for arrival on or before
               February 17, 2011, and request the State Bar to make the NCBE-provided

               laptop available to Ms. Enyart and a technical expert of her choice (the
               "technical expert") on February 17, 2011 for inspection and set-up. Inspection

               and set-up shall include permission to connect Ms. Enyart's monitor,
               keyboard and mouse (the "peripherals") to the NCBE laptop and to test the
               functionality of JAWS and MAGic to ensure that all software and hardware on

               the system are functioning properly.

           3. NCBE shall request the State Bar to make the NCBE-provided laptop
               available to Ms. Enyart and a technical expert of her choice again on

               February 21, 2011 for set up in the secure testing area. Set up shall include
               permission to connect the peripherals to the NCBE laptop and to again test

               the functionality of JAWS and MAGic to ensure that all software and hardware

               on the system are functioning properly.

           4. NCBE will make an NCBE representative knowledgeable about the
               configuration of the NCBE laptop available by telephone on February 17,

               2011 and February 21, 2011, at a pre-established, mutually convenient time



   Enyart v. National Conference of Bar Examiners, et al., Case No.:
   NOTICE OF STIPULATION AND AGREEMENT
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              between 8:30 a.m. and 4:00 p.m. CST, to work with Ms. Enyart and the

              technical expert on troubleshooting any technical or compatibility issues.

           5. NCBE will permit the laptop computer to remain set up with the peripherals

              connected in the testing room from February 21, 2011 through the

              administration of the MBE to Ms. Enyart on February 26 and 27, 2011, with

              storage and security of the NCBE laptop being ensured by State Bar

              personnel. In the event the State Bar declines to provide any of the
              accommodations specified in this order, counsel are to notify the court one

              week prior to the date of the commencement of the Bar examination.

           6. The State Bar shall be responsible for custody of, and access to, the laptop
              once it is delivered to the State Bar. All decisions with respect to the

              administration of the examination shall rest with the State Bar. The MBE shall

              be administered by the State Bar with the above accommodations pursuant to

              the Stipulation Regarding Dismissal Without Prejudice of Defendant State Bar

              of California; Order Thereon filed with the Court on December 9, 2009.

           7. Plaintiff shall post an additional cash bond in the amount of $5,000 with the
              Clerk of the Court by July 1, 2010, and deposited into the registry of the

              Court.

           8. Plaintiff reserves the right to move this Court for other modifications to the
              prior injunctions issued in this case that are not covered by this stipulation.




  Respectfully Submitted,




  Dated:           January , 2011                    DISABILITY RIGHTS ADVOCATES

                                                     By:         /s/ Laurence Paradis




  Enyart v. National Conference of Bar Examiners, et al., Case No.:
  NOTICE OF STIPULATION AND AGREEMENT
                                                                                                2
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                         1                                                     LABARRE LAW OFFICES, P.0
                         2                                                      By:       Is/ Scott Labarre
                         3
                         4                                                      BROWN, GOLDSTEIN AND LEVY, PLLC
                         5                                                      By:       /s/ Daniel F. Goldstein
                         6
                         7
                         8                                                     Attorneys for Plaintiff
                         9
                        10           COOLEY GODWARD KRONISH LLP
                        11           By:        /s/ Wendy J. Brenner
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            tZz)        14           Attorneys for Defendant
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                             Enyart v. National Conference of Bar Examiners, et al., Case No.:
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    Baltimore, MD 21202
    Telephone: (410) 962-1030
    Fax:         (410) 385-0869
    Attorneys for Plaintiff
    [add defense counsel to caption]




                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
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   STEPHANIE ENYART                           Case NO. C09-05191

                                              NOTICE OF STIPULATION AND
                                              AGREEMENT BETWEEN STEPHANIE
               Plaintiff,                     ENYART AND NATIONAL
                                              CONFERENCE OF BAR EXAMINERS
   V.                                         REGARDING FEBRUARY 2011
   NATIONAL CONFERENCE OF BAR                 ADMINISTRATION OF MULTISTATE
   EXAMINERS,                                 BAR EXAM

               Defendant.
Case 3:09-cv-05191-CRB           Document 119-12            Filed 01/14/11   Page 12 of 15



           The parties to the above-captioned action, Plaintiff Stephanie Enyart and
   Defendant National Conference of Bar Examiners (hereinafter, "the Parties"), jointly

   stipulate and agree as follows:



           1. With respect to the February 2011 administration of the California Bar exam,
               NCBE shall provide the State Bar of California, Committee of Bar Examiners

               (the "State Bar") with the Multistate Bar Examination ("MBE") loaded onto a

               laptop computer equipped with Windows XP, Word 2003, JAWS version 12

               and MAGic version 11 software, with the examination displayed in 14-point

               Arial font.

           2. NCBE shall deliver the NCBE laptop to the State Bar for arrival on or before
               February 17, 2011, and request the State Bar to make the NCBE-provided

               laptop available to Ms. Enyart and a technical expert of her choice (the
               "technical expert") on February 17, 2011 for inspection and set-up. Inspection

               and set-up shall include permission to connect Ms. Enyart's monitor,
               keyboard and mouse (the "peripherals") to the NCBE laptop and to test the

               functionality of JAWS and MAGic to ensure that all software and hardware on

               the system are functioning properly.

           3. NCBE shall request the State Bar to make the NCBE-provided laptop
               available to Ms. Enyart and a technical expert of her choice again on

               February 21, 2011 for set up in the secure testing area. Set up shall include
               permission to connect the peripherals to the NCBE laptop and to again test

               the functionality of JAWS and MAGic to ensure that all software and hardware

               on the system are functioning properly.

           4. NCBE will make an NCBE representative knowledgeable about the
               configuration of the NCBE laptop available by telephone on February 17,

               2011 and February 21, 2011, at a pre-established, mutually convenient time



   Enyart v. National Conference of Bar Examiners, et al., Case No.:
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                        Case 3:09-cv-05191-CRB              Document 119-12            Filed 01/14/11   Page 13 of 15



                        1               between 8:30 a.m. and 4:00 p.m. CST, to work with Ms. Enyart and the

                        2               technical expert on troubleshooting any technical or compatibility issues.

                        3           5. The NCBE representative available by telephone will not use his or her

                        4               administrative privileges in any way, nor will he or she transfer that ability. In

                        5               the event that the NCBE representative, technical expert, and Ms. Enyart

                        6               identify a problem on February 17, 2011, which cannot be resolved absent

                        7               the use of administrative privileges, the NCBE shall arrange for the return of

                        8               the laptop to NCBE, and will maintain an open line of communication with the

                        9               technical expert and Ms. Enyart while working to resolve the problem offsite.

                       10               NCBE will deliver the laptop back to the State Bar by Monday, February 21,

                       11               2011 for set up in the secure testing area, pursuant to paragraph 3.

                       12           6. NCBE will permit the laptop computer to remain set up with the peripherals
U)
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a0                     13               connected in the testing room from February 21, 2011 through the
           -A-

(2,        's;         14               administration of the MBE to Ms. Enyart on February 26 and 27, 2011, with
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HW                     15               storage and security of the NCBE laptop being ensured by State Bar
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                       16                personnel. In the event the State Bar declines to provide any of the

                       17               accommodations specified in this order, counsel are to notify the court one

      "                18               week prior to the date of the commencement of the Bar examination.

                       19           7. The State Bar shall be responsible for custody of, and access to, the laptop

                       20               once it is delivered to the State Bar. All decisions with respect to the

                       21                administration of the examination shall rest with the State Bar. The MBE shall

                       22                be administered by the State Bar with the above accommodations pursuant to

                       23               the Stipulation Regarding Dismissal Without Prejudice of Defendant State Bar

                       24                of California; Order Thereon filed with the Court on December 9, 2009.

                       25           8. Plaintiff shall post an additional cash bond in the amount of $5,000 with the

                       26                Clerk of the Court by July 1, 2010, and deposited into the registry of the

                       27                Court.

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                            Enyart v. National Conference of Bar Examiners, et al., Case No.:
                            NOTICE OF STIPULATION AND AGREEMENT
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                        Respectfully Submitted,




                        Dated:          January        , 2011             DISABILITY RIGHTS ADVOCATES
                                                                           By:        /s/ Laurence Paradis


                                                                           LABARRE LAW OFFICES, P.C.
                                                                           By:       /s/ Scott Labarre


                                                                           BROWN, GOLDSTEIN AND LEVY, PLLC
                                                                           By:       /s/ Daniel F. Goldstein
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xo                                                                         Attorneys for Plaintiff

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oa
                                 COOLEY GODWARD KRONISH LLP
(I)
                                 By:       /s/ Wendy J. Brenner




                                 Attorneys for Defendant




                        Enyart v. National Conference of Bar Examiners, et al., Case No.:
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                                Enyart v. National Conference of Bar Examiners, et al., Case No.:
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